         Case 1:20-cv-03037-MKD      ECF No. 30    filed 11/04/20   PageID.3232 Page 1 of 3




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                                                                         FILED IN THE
                                                                     U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON
 2
                                                               Nov 04, 2020
 3                                                                  SEAN F. MCAVOY, CLERK




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 5                          UNITED STATES DISTRICT COURT

 6                        EASTERN DISTRICT OF WASHINGTON

 7   VERONICA T. 1,                                     No. 1:20-CV-03037-MKD

 8                          Plaintiff,                  ORDER GRANTING
                                                        STIPULATED MOTION FOR
 9   vs.                                                REMAND PURSUANT TO
                                                        SENTENCE FOUR OF 42 U.S.C. §
10   ANDREW M. SAUL,                                    405(g)
     COMMISSIONER OF SOCIAL
11   SECURITY,                                          ECF Nos. 22, 29

12                          Defendant.

13            Before the Court is the parties’ Stipulated Motion for Remand, ECF No. 29,

14   requesting remand of the above-captioned matter to the Commissioner for

15   additional administrative proceeding pursuant to sentence four of 42 U.S.C. §

16   405(g). Attorney D. James Tree represents Plaintiff. Attorney Leisa Wolf

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         To protect the privacy of plaintiffs in social security cases, the undersigned
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     identifies them by only their first names and the initial of their last names. See
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     LCivR 5.2(c).
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     ORDER - 1
      Case 1:20-cv-03037-MKD     ECF No. 30    filed 11/04/20   PageID.3233 Page 2 of 3




 1   represents Defendant. The parties have consented to proceed before a magistrate

 2   judge. ECF No. 7.

 3         After consideration, IT IS HEREBY ORDERED that:

 4         1. The parties’ Stipulated Motion for Remand, ECF No. 29, is GRANTED.

 5         2. The above-captioned case be REVERSED and REMANDED to the

 6   Commissioner of Social Security for further administrative proceeding pursuant to

 7   sentence four of 42 U.S.C. § 405(g).

 8         On remand, the parties stipulate that:

 9         The Appeals Council will instruct the ALJ to:

10            • Obtain evidence from a medical expert to clarify the nature, severity,

11               and effects of Plaintiff’s mental impairments and migraine headaches;

12            • Further evaluate her mental impairments in accordance with the

13               special technique;

14            • Re-evaluate whether the severity of Plaintiff’s impairment(s) met or

15               equaled the severity of a listed impairment;

16            • Re-evaluate the opinion evidence of record;
17            • Further evaluate Plaintiff’s alleged symptoms;
18            • If warranted, reassess Plaintiff’s maximum residual capacity; and
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     ORDER - 2
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 1            • If warranted by the expanded record, obtain supplemental vocational

 2               expert evidence to clarify the effect of the assessed limitations on

 3               Plaintiff’s ability to perform other work in the national economy.

 4         Additionally, the ALJ will not disturb the finding of disability beginning

 5   March 5, 2019. See ECF No. 29 at 2.

 6         3. Judgment shall be entered for PLAINTIFF.

 7         4. Plaintiff’s Motion for Summary Judgment, ECF No. 22, is STRICKEN

 8   AS MOOT.

 9         5. Upon proper presentation, this Court consider Plaintiff’s application for

10   fees and expenses under the Equal Access to Justice Act, 28 U.S.C. § 2412(d).

11         The District Court Executive is directed to enter this Order, enter

12   Judgment, forward copies to counsel, and CLOSE THE FILE.

13         DATED November 4, 2020.
                                s/Mary K. Dimke
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                               MARY K. DIMKE
                    UNITED STATES MAGISTRATE JUDGE
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     ORDER - 3
